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                                                                        September 6, 2019
BY ECF

Honorable Joanna Seybert
United States District Judge
100 Federal Plaza
Central Islip, NY 11722

Re:     USA v. Zoobia Shahnaz, 17 CR 690 (JS)
        Unopposed Request to Reschedule Sentence Hearing

Dear Judge Seybert:

       I write to request that the sentence hearing for my client, Zoobia Shahnaz, be rescheduled to
January 17, 2019. I have discussed this request with the attorney for the government, Artie
McConnell, and he advised me that the government does not oppose rescheduling the sentence
hearing.

        Thank you for your consideration in this matter.



                                                                        Respectfully submitted,

                                                                        /s/
                                                                        Steve Zissou




cc: Artie.McConnell@usdoj.gov
